Case 2:04-Cv-02403-.]PI\/|-tmp Document 14 Filed 05/24/05 Page 1 of 2 Page|D 30

  

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

DELOIS ADAMS,
Plaintiff,
No. 04-2403 Ml/P

V.

ALLSTATE INSURANCE COMPANY,

vvv\dva-rv\¢¢

Defendant.

 

ORDER SETTING TRIAL DATES

 

Pursuant to the discussion during the partiee’ May 24, 2005,
telephone conferenoe, the Court hereby Sete the following trial
echedule in this caeez
Trial: Mondav. Auqust 22, 2005, at 9:30 a.m.

Pretrial Conference: Wednesdav, Auqust l7, 2005, at 8:45 a.m.

Pretrial Order: Wednesdav, Auqust 10, 2005, bv 4:30 o.m.

So oRDERED this 0?°! day of May, 2005.

@\Q, M‘~ O¢Ql._

JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02403 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

